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             IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF DELAWARE

In re:                           )     Chapter 11
                                 )
TSAWD HOLDINGS, INC., et al.,1   )
                                 )     Case No. 16-10527 (MFW)
          Debtors.               )     Jointly Administered
                                 )
_______________________________ )
                                 )
O2COOL, LLC                      )
                                 )
          Plaintiff,             )
                                 )
     v.                          )     Adv. No. 16-51014 (MFW)
                                 )
TSA STORES, INC.; BANK OF        )
AMERICA, N.A.; WELLS FARGO BANK, )
N.A.; WILMINGTON SAVINGS FUND    )
SOCIETY, FSB; YUSEN LOGISTICS    )
(AMERICAS), INC.; and OOCL (USA),)
INC.,                            )
          Defendants.            )
                                 )
_________________________________)

                        MEMORANDUM OPINION2

     Before the Court are the Motions of Wilmington Savings Fund

Society, FSB (“WSFS”), Bank of America, N.A., and Wells Fargo

Bank, N.A. (collectively, “WSFS and the Term Loan Lenders”) to

Dismiss the Adversary Complaint filed by O2Cool, LLC (“O2Cool”).

The complaint seeks a declaration that certain stopped goods do



     1
          The Debtors were formerly known as Sports Authority
Holdings, Inc., et al.
     2
          The Court is not required to state findings of fact or
conclusions of law pursuant to Rule 7052 of the Federal Rules of
Bankruptcy Procedure. Accordingly, the facts recited are those
averred in the complaint, which must be presumed as true for
purposes of the Motions to Dismiss. Ashcroft v. Iqbal, 556 U.S.
662, 678 (2009).
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not constitute property of the Debtors’ estates and that O2Cool’s

rights in the stopped goods and sale proceeds thereof are

superior to those of WSFS and the Term Loan Lenders.                WSFS and

the Term Loan Lenders seek to dismiss the complaint pursuant to

Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil

Procedure, as incorporated by Rule 7012(b) of the Federal Rules

of Bankruptcy Procedure.        For the reasons set forth below, the

Motions to Dismiss will be denied.



I.   BACKGROUND

     O2Cool is a designer, manufacturer, and distributor of

consumer goods, specializing in pool and beach products.                  The

Debtors marketed and sold certain of O2Cool’s products from their

retail stores located across the United States and Puerto Rico.

WSFS and the Term Loan Lenders are prepetition secured creditors

of the Debtors pursuant to an asset-based revolving credit

facility.

     Between January and February 2016, the Debtors purchased

certain goods for resale from O2Cool (the “Disputed Goods”) at

the total cost of $608,130 which remains unpaid.               In order to

transport the Disputed Goods from their origin in China to the

Debtors’ distribution center in Colorado, O2Cool placed the

Disputed Goods for shipment with Yusen Logistics (Americas), Inc.

(“Yusen”), the party with which the Debtors contracted for the


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shipment of its orders.    Yusen, in turn, arranged for various

carriers, including OOCL (USA), Inc. (“OOCL”), to transport the

Disputed Goods.

     Prior to the petition date, O2Cool learned of the Debtors’

insolvency.    Between February 12 and 26, 2016, O2Cool sent Yusen

five separate notices to stop delivery of the Disputed Goods

(collectively, the “Stoppage Notices”) pursuant to section 2-705

of the Uniform Commercial Code (the “UCC”).              Yusen acknowledged

receipt of the Stoppage Notices but advised O2Cool that Yusen

functioned as the freight forwarder and that OOCL was in fact the

carrier.   O2Cool then transmitted the Stoppage Notices to OOCL,

which acknowledged receipt of the same.

     The Disputed Goods were not returned to O2Cool.3               O2Cool

alleges that the Debtors advised Yusen and/or OOCL to disregard

the Stoppage Notices and deliver the Disputed Goods to the

Debtors.

     On March 2, 2016, the Debtors filed voluntary petitions

under chapter 11 of the Bankruptcy Code.          On May 3, 2016, the

Court entered a final order authorizing the Debtors to obtain

postpetition secured financing and authorizing the use of cash

collateral (the “Final DIP Order”).        (D.I. 1699.)        The Final DIP



     3
          The Debtors’ Answer avers that the Debtors received the
Disputed Goods, sold them to retail customers, and remitted the
sale proceeds to WSFS and/or the Term Loan Lenders. (Adv. D.I.
20.)

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Order, inter alia, defined the period during which parties in

interest could bring an action against any of the Prepetition

Agents or the Prepetition Secured Lenders to challenge their

liens or claims (a “Challenge Proceeding”).               Id. at ¶ 25.    A

Challenge Proceeding was defined to include:

     (a) an objection to or challenge of . . . (i) the
     validity, extent, perfection, or priority of the
     security interests and Liens of the Prepetition Agents
     and Prepetition Secured Lenders in and to the
     Prepetition Collateral, or (ii) the validity,
     allowability, priority, status, or amount of the
     Prepetition Secured Debt, or

     (b) a suit against the Prepetition Agents or
     Prepetition Secured Lenders in connection with or
     related to the Prepetition Secured Debt or the
     Prepetition Liens, or the actions or inactions of the
     Prepetition Agents or Prepetition Secured Lenders
     arising out of or related to the Prepetition Secured
     Debt or Prepetition Liens;

Id. (emphasis added).    The Final DIP Order required a party in

interest other than an official Committee to commence a Challenge

Proceeding within seventy-five days of the entry of the Interim

Order, or by May 18, 2016 (the “Challenge Proceeding Deadline”).

     On June 21, 2016, O2Cool commenced the instant adversary

proceeding seeking a declaration that the Disputed Goods do not

constitute property of the Debtors’ estates and that O2Cool’s

rights in the Disputed Goods and sale proceeds thereof are

superior to the rights of the Debtors, WSFS, and the Term Loan

Lenders.   (Adv. D.I. 1.)      O2Cool seeks an accounting, the

recovery of money or property, and/or damages.               Id.


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      On September 8, 2016, WSFS moved to dismiss the complaint

pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of

Civil Procedure or, in the alternative, to stay the claims

asserted against WSFS, pending adjudication of the claims against

the Debtors, Yusen, and OOCL.        (Adv. D.I. 22, 23.)

      The Term Loan Lenders filed joinders in WSFS’s Motion to

Dismiss and additionally moved to dismiss O2Cool’s claims because

they allege they are oversecured and therefore received no

benefit from the sale of the Disputed Goods.               (Adv. D.I. 24, 26.)



II.   DISCUSSION

      A.   Motions to Dismiss for Lack of Subject Matter
           Jurisdiction

      WSFS and the Term Loan Lenders contend that the Court lacks

subject matter jurisdiction over this action.              The Court has

authority to determine whether it has subject matter jurisdiction

over an adversary proceeding.        See, e.g., Liquidating Tr. of the

MPC Liquidating Trust v. Granite Fin. Solutions (In re MPC

Computers, LLC), 465 B.R. 384, 386 (Bankr. D. Del. 2012) (holding

that a federal court has authority to determine whether it has

subject matter jurisdiction over a dispute).

           1.      Legal Standard

      Rule 12(b)(1) of the Federal Rules of Civil Procedure

provides that a federal court may dismiss a complaint for lack of

subject matter jurisdiction.        FED. R. CIV. P. 12(b)(1).

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     A Rule 12(b)(1) motion to dismiss for lack of subject matter

jurisdiction that challenges the sufficiency of pleading in a

complaint is known as a facial attack.       See MPC Computers, 465

B.R. at 387-88.   See also Team Angry Filmworks, Inc. v. Geer, 171

F. Supp. 3d 437, 440-41 (W.D. Pa. 2016) (“If the defendant

challenges jurisdiction in its Rule 12(b)(1) motion before

answering the complaint or otherwise presenting competing facts,

the Rule 12(b)(1) motion is, by definition, a facial attack.”

(internal quotation marks and citation omitted)).           In reviewing a

facial attack, the Court must “accept all well-pleaded

allegations in the complaint as true and view them in the light

most favorable to the plaintiff.”      MPC Computers, 465 B.R. at

387-88 (citations omitted).

     The party invoking the federal court’s subject matter

jurisdiction bears the burden of establishing its existence by a

preponderance of the evidence.    See, e.g., Common Cause of Pa. v.

Pennsylvania, 558 F.3d 249, 257 (3d Cir. 2009); Edmunds Holding

Co. v. Autobytel Inc., 598 F. Supp. 2d 606, 609 (D. Del. 2009).

Thus, O2Cool bears the burden of establishing that the Court has

the requisite jurisdiction to hear its declaratory judgment

action, but the factual allegations in its complaint must be

accepted as true.




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            2.    The Declaratory Judgment Act

     WSFS and the Term Loan Lenders move to dismiss O2Cool’s

declaratory judgment action for lack of subject matter

jurisdiction because they contend that the facts alleged fail to

demonstrate that the dispute is ripe for adjudication.                   See

MedImmune, Inc. v. Genetech, Inc., 549 U.S. 118, 127 (2007).

     Under the Declaratory Judgment Act (the “Act”), the Court

has the power to “declare the rights and other legal relations of

any interested party seeking such declaration” when there is a

“case of actual controversy.”       28 U.S.C. § 2201(a).          Absent an

actual controversy, however, the Court has no authority to decide

the case.    Amgen, Inc. v. Ariad Pharm., Inc., 577 F. Supp. 2d

702, 709 (D. Del. 2008).

     An “actual controversy” under the Act is the same as a case

or controversy that is justiciable under Article III of the

Constitution and therefore, must be ripe for judicial

intervention.     See MedImmune, 549 U.S. at 126.          “The function of

the ripeness doctrine is to determine whether a party has brought

an action prematurely, and counsels abstention until such time as

a dispute is sufficiently concrete to satisfy the constitutional

and prudential requirements of the doctrine.”             Peachlum v. City

of York, Pa., 333 F.3d 429, 433 (3d Cir. 2003) (citations

omitted).




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     To be considered ripe,

          [t]he controversy must be definite and
          concrete, touching the legal relations of
          parties having adverse legal interests . . .
          . It must be a real and substantial
          controversy admitting of specific relief
          through a decree of a conclusive character,
          as distinguished from an opinion advising
          what the law would be upon a hypothetical
          state of facts.

Step-Saver Data Sys., Inc. v. Wyse Tech., 912 F.2d 643, 647 (3d

Cir. 1990) (quoting Aetna Life Ins. Co. v. Haworth, 300 U.S. 227,

240-41 (1937)).   Accordingly, in determining ripeness under the

Act, the Court must consider the adversity of the interests of

the parties, the conclusiveness of any judgment in defining and

clarifying the parties’ legal rights or relations, and the

practical help or utility of issuing a declaratory judgment.          Id.

See also Pittsburgh Mack Sales & Serv., Inc. v. Int’l Union of

Operating Eng’rs, Local Union No. 66, 580 F.3d 185, 190-91 (3d

Cir. 2009).

     WSFS and the Term Loan Lenders rely on Step-Saver in arguing

that a declaration with respect to them would be inconclusive

because it is contingent on (1) the alleged wrongdoing of the

carrier in failing to return the Disputed Goods in accordance

with the Stoppage Notices and (2) the alleged wrongdoing of the

Debtors (a) in advising Yusen and/or OOCL to disregard the

Stoppage Notices and (b) in ultimately selling the Disputed Goods

without remitting the sale proceeds to O2Cool.          Step-Saver, 912


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F.2d 643.    Accordingly, WSFS and the Term Loan Lenders contend

that the Court should dismiss, or in the alternative, stay the

adversary proceeding as to them until the claims against Yusen,

OOCL, and the Debtors have been resolved.

     O2Cool, however, asserts that the dispute is ripe for

declaratory judgment because O2Cool’s rights as against WSFS and

the Term Loan Lenders are immediately and directly impacted by

the claims in the complaint, namely, whether the Stoppage Notices

prevented the Disputed Goods from becoming property of the

Debtors’ estates such that O2Cool’s rights in the Disputed Goods

are superior to the rights of WSFS and the Term Loan Lenders.

     The Court agrees with O2Cool and concludes that the dispute

is ripe for adjudication.       This is not a case of a hypothetical

dispute where certain contingencies have not yet occurred or the

potential harm is too speculative to pose an immediate threat.

Rather, O2Cool alleges that certain past events have already

resulted in a concrete financial injury to it – at minimum, the

disposal of the Disputed Goods and transfer of the proceeds to

WSFS and the Term Loan Lenders.

     The Court finds Step-Saver distinguishable.              In Step-Saver,

the plaintiff had been sued for allegedly defective goods it had

purchased from the manufacturer, modified, and then sold to

consumers (the “Consumer Actions”).         Step-Saver, 912 F.2d at 645.

In a separate action, the plaintiff sued the manufacturer of the


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goods, seeking a declaratory judgment that the manufacturer was

liable to it if the Consumer Actions established a manufacturing

defect in the goods.    Id.   The Step-Saver court held that the

declaratory judgment action against the manufacturer was not ripe

because it was contingent on a ruling in the Consumer Actions

that there was a manufacturing defect.          Id. at 648.

     In this case, in contrast, all parties are joined in the

adversary proceeding and a full record of the facts can be

established.    In addition, O2Cool’s claims are not premised on a

contingency but on a past event, specifically, the service of the

Stoppage Notices, which purportedly gave O2Cool an interest in

the Disputed Goods superior to any interest WSFS or the Term Loan

Lenders may have.

     Viewing the allegations in the complaint in the light most

favorable to the plaintiff, the Court finds that O2Cool’s claims

for declaratory judgment based on the issuance of Stoppage

Notices pursuant to section 2-705 of the UCC are in fact

justiciable.    Therefore, the Court will neither stay nor dismiss

the claims under Rule 12(b)(1).

     B.    Motions to Dismiss for Failure to State a Claim

           1.    Legal Standard

     Rule 12(b)(6) of the Federal Rules of Civil Procedure

provides that a Court may dismiss a complaint for “failure to

state a claim upon which relief can be granted.”              FED. R. CIV. P.


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12(b)(6).    A Rule 12(b)(6) motion to dismiss challenges the

sufficiency of the complaint’s factual allegations and requires

the Court to determine “not whether a plaintiff will ultimately

prevail but whether the claimant is entitled to offer evidence to

support the claims.”    Scheuer v. Rhodes, 416 U.S. 232, 236

(1974), abrogated on other grounds by Harlow v. Fitzgerald, 457

U.S. 800, 814-15 (1982).

       “While a complaint attacked by a Rule 12(b)(6) motion to

dismiss does not need detailed factual allegations, a plaintiff’s

obligation to provide the ‘grounds’ of his ‘entitle[ment] to

relief’ requires more than labels and conclusions, and a

formulaic recitation of a cause of action’s elements will not

do.”    Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(internal citations omitted).      Instead, to satisfy the pleading

requirements of Rule 8(a) of the Federal Rules of Civil

Procedure, a complaint must “contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on

its face.”    Ashcroft, 556 U.S. at 678 (internal quotation marks

and citation omitted).    The Court may also consider documents

integral to the complaint’s allegations and documents referenced

in, or relied upon by, a complaint.         See Angstadt v. Midd-West

School Dist., 377 F.3d 338, 342 (3d Cir. 2004) (“[A]lthough a

district court may not consider matters extraneous to the

pleadings, a document integral to or explicitly relied upon in


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the complaint may be considered without converting the motion to

dismiss to one for summary judgment.”).

     The moving party has the burden of demonstrating that

dismissal of the complaint is appropriate.            Joseph v. Frank (In

re Troll Commc’ns, LLC), 385 B.R. 110, 117 (Bankr. D. Del. 2008).

     The Motions to Dismiss are premised on (1) the asserted

absence of an available remedy under the UCC where O2Cool failed

to exercise the remedy of reclamation once the stoppage failed

and the Disputed Goods were ultimately delivered to the Debtors,

and (2) the purported untimeliness of the complaint, which was

filed after the Challenge Proceeding Deadline set by the Final

DIP Order.    The Term Loan Lenders further assert that dismissal

of O2Cool’s claims against them is appropriate because their

claims are oversecured.

            2.   Availability of Remedy under the UCC4

     If a seller discovers that a buyer is insolvent while its

goods are in transit, section 2-705 of the UCC permits the seller

to stop delivery of any shipment in the possession of the

carrier.    Del. Code Ann. tit. 6, § 2-705(1).            As a general rule,

section 2-705(3)(b) provides that after receiving a stoppage

notice, the carrier must hold and deliver the goods only

according to the seller’s instructions.           Del. Code Ann. tit. 6, §


     4
          Because the Debtors are incorporated in Delaware, the
Court will apply the Delaware UCC for purposes of the Motions to
Dismiss. Del. Code Ann. tit. 6, § 2-101, et seq. (2016).

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2-705(3)(b).     See Donegal Steel Foundry Co. v. Accurate Prods.

Co., 516 F.2d 583, 589 (3d Cir. 1975) (acknowledging that section

2-705 of the UCC imposes a duty on a bailee to comply with the

delivery instructions of the bailor).

     The “right to stop delivery applies regardless of which

party bears the risk of loss, and regardless of which party is

deemed to have ‘title’ to the goods while they are in the

carrier's possession.”     Montello Oil Corp. v. Marin Motor Oil,

Inc. (In re Marin Motor Oil, Inc.), 740 F.2d 220, 225 (3d Cir.

1984).     See In re Kellstrom Indus., Inc., 282 B.R. 787, 791

(Bankr. D. Del. 2002) (concluding that a seller’s right to stop

delivery of goods still in its possession is not impaired by the

passage of title to the buyer).

     Once the buyer is in receipt of the goods, however, the

seller’s remedy is limited to a claim for reclamation pursuant to

section 2-702 of the UCC.      Del. Code Ann. tit. 6, § 2-702(2).

See Marin Motor Oil, 740 F.2d at 225 (“[T]he right of reclamation

– a different right than the right to stop goods in transit –

takes effect when the buyer ‘receives’ the goods.”).                In most

cases, the demand for reclamation must be made within ten days

after the buyer receives the goods.          Del. Code Ann. tit. 6, § 2-

702(2).5    See In re R.F. Cunningham & Co., Inc., No. 805-84105-



     5
          If the buyer files bankruptcy, however, the reclamation
period may be extended. 11 U.S.C. § 546(c).

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511, 2006 WL 3791329, at *2 (Bankr. E.D.N.Y. Dec. 21, 2006) (“The

right of reclamation is not a self-effectuating remedy, and the

failure to take action to protect reclamation rights can lead to

loss of the right.” (citing In re Waccamaw’s Homeplace, 298 B.R.

233, 239 (Bankr. D. Del. 2003)).      However, the right of

reclamation is subordinate to the rights of a good faith

purchaser from the buyer.   Del. Code Ann. tit. 6, § 2-702(3).

     WSFS and the Term Loan Lenders contend that the complaint

fails to state a claim for relief against them because O2Cool

failed to timely assert a claim for reclamation.            They argue that

once the Disputed Goods were in the Debtors’ possession, O2Cool’s

right to stoppage was terminated and supplanted by the remedy of

reclamation, even if the carrier negligently or willfully

dishonored the Stoppage Notices.      WSFS and the Term Loan Lenders

assert that O2Cool failed to make a reclamation demand within the

required ten-day period and therefore cannot do so now.                They

further argue that even if O2Cool had demanded reclamation, such

demand would be subject to their rights as good faith purchasers.

See, e.g., Trico, 282 B.R. at 328-29 (“A creditor with a floating

security interest on the debtor’s inventory can be a good faith

purchaser for purposes of section 2-403.”); Allegiance Healthcare

Corp. v. Primary Health Sys., Inc. (In re Primary Health Sys.,

Inc.), 258 B.R. 111, 115 (Bankr. D. Del. 2001) (holding that

absent bad faith, a holder of a prior perfected floating lien on


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inventory is a good faith purchaser under the UCC).

     O2Cool, however, contends that it was not required to pursue

the remedy of reclamation because it properly exercised its

stoppage rights under the UCC before the Debtors received the

Disputed Goods.    O2Cool relies on the Court’s decision in Trico

in arguing that once a seller exercises its stoppage rights prior

to the buyer taking actual physical possession, the seller’s

rights are preserved, including having priority in those goods

(and their proceeds) over a secured lender with a blanket lien.

See Trico, 282 B.R. at 330 (holding that the right to stop

delivery is not subject to the rights of a secured creditor of

the buyer with a floating lien on the buyer’s inventory).

     In ruling on the Motions to Dismiss, the Court need not

determine whether O2Cool will ultimately prevail, but whether it

has sufficiently pleaded facts to support its claim.                The Court

concludes that O2Cool has stated a claim upon which relief can be

granted.

     O2Cool asserts that it properly exercised its stoppage

rights pursuant to section 2-705 of the UCC while the Disputed

Goods were in transit and cites case law in support of its

argument that the Stoppage Notices preserved its rights in the

Disputed Goods preventing such goods from becoming property of

the Debtors or subject to the floating liens of WSFS and the Term

Loan Lenders.    Construing the complaint in the light most


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favorable to O2Cool, the allegations “plausibly give rise to an

entitlement to relief.”     Santiago v. Warminster Twp., 629 F.3d

121, 130 (3d Cir. 2010) (quoting Iqbal, 556 U.S. at 679).

     The Court disagrees with WSFS and the Term Loan Lenders that

O2Cool lacks a remedy under the UCC because, unlike a demand for

reclamation, stoppage rights are not subject to the rights of a

good faith purchaser.    Ramco Steel, Inc. v. Kesler (In re Murdock

Mach. & Eng’g Co. of Utah), 620 F.2d 767, 774 (10th Cir. 1980)

(explaining that an unpaid seller’s order to stop delivery of

goods in the possession of a carrier or warehouseman is not cut

off by the intervention of a third-party good faith purchaser).

Moreover, the UCC does not permit a sale by the buyer free and

clear of a seller’s right to stop delivery without full payment

in cash to the seller.    Kellstrom, 282 B.R. at 793 n.4 (“Section

2-702(3) [of the UCC] subjects a seller’s right to reclaim to

section 2-403 which allows the sale to a good faith purchaser.

There is no similar provision subjecting a seller’s right to

withhold and stop delivery to a sale to a good faith

purchaser.”).

          3.    Timeliness of the Complaint

     WSFS and the Term Loan Lenders further argue that O2Cool’s

claims are barred by the Final DIP Order.          They contend that the

adversary proceeding, wherein O2Cool seeks to demonstrate that it

has superior rights in the Disputed Goods based on the issuance


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of the Stoppage Notices, falls within the broad definition of a

Challenge Proceeding and accordingly, is subject to the Challenge

Proceeding Deadline.   WSFS and the Term Loan Lenders contend that

they were entitled to rely on their bargained-for protection and

should not have to repeatedly litigate challenges to their liens

throughout the duration of the Debtors’ bankruptcy proceedings.

Spartan Mills v. Bank of Am. Ill., 112 F.3d 1251, 1253-58 (4th

Cir. 1997) (rejecting creditor’s attempt to circumvent expiration

of the challenge period set by the bankruptcy court by

collaterally attacking the lender’s lien position in another

jurisdiction); Baker Hughes Oilfield Operations, Inc. v.

Summerline Asset Mgmt. LLC (In re S. Tex. Oil Co.), 434 B.R. 435,

442-44 (Bankr. W.D. Tex. 2010) (denying motion to intervene where

the challenge proceeding deadline specified in the DIP financing

order had passed); Official Comm. of Unsecured Creditors of

Champion Enters., Inc. v. Credit Suisse (In re Champion Enters.,

Inc.), Adv. No. 10-50514 (KG), 2010 WL 3522132, at *15 n.13

(Bankr. D. Del. Sept. 1, 2010) (identifying in dicta an

alternative basis to dismiss claims where the amended complaint

was filed after the challenge proceeding deadline).

     O2Cool argues, however, that the adversary proceeding does

not fall within the definition of a Challenge Proceeding because

its claims do not challenge the validity, extent, or priority of

liens referenced in the Final DIP Order.         Rather, O2Cool argues


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that WSFS and the Term Loan Lenders’ liens simply did not attach

to the Disputed Goods because the latter never became property of

the Debtors or their estates.       Accordingly, O2Cool argues that

the Challenge Proceeding Deadline does not apply to this

adversary proceeding.

     The Court agrees with O2Cool that the adversary proceeding

does not fall within the definition of a Challenge Proceeding.

Accepting O2Cool’s allegation that the Stoppage Notices were

issued while the Disputed Goods were in transit as true, the

Disputed Goods did not become property of the Debtors or their

estates.    Del. Code Ann. tit. 6, § 2-705 cmt. 6 (“After an

effective stoppage under this section the seller’s rights in the

goods are the same as if he had never made a delivery.”).                 See In

re Nesto, 270 F. 503, 505 (3d Cir. 1921) (“[T]he unpaid seller

who has parted with the possession of the goods has the right of

stopping them in transit; that is to say, he may resume

possession of the goods at any time while they are in transit,

and he will then become entitled to the same rights in regard to

those goods as he would have had if he had never parted with the

possession.”).    Therefore, O2Cool’s claims do not raise an

objection to or challenge of the validity, extent, perfection, or

priority of the security interests and liens of WSFS and the Term

Loan Lenders on property of the Debtors or their estates.

Accordingly, the Court concludes that the Challenge Proceeding


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Deadline is inapplicable to O2Cool’s complaint and the Motions to

Dismiss on this basis will be denied.

           4.    Oversecurity

     The Term Loan Lenders independently assert that dismissal of

O2Cool’s claims against them is appropriate because they were

oversecured and paid in full.     Therefore, they contend that they

received no benefit from the sale of the Disputed Goods and

cannot be liable to O2Cool under any version of the alleged

facts.   In re Mall at One Assocs., L.P., 185 B.R. 981, 989

(Bankr. E.D. Pa. 1995) (determining, in the context of a

surcharge action under section 506(c) of the Bankruptcy Code,

that an oversecured creditor received no benefit from the

debtors’ actions that allegedly benefitted the estate).

     The Term Loan Lenders’ argument is not persuasive because

the Court cannot conclude that they are oversecured based on the

allegations in O2Cool’s complaint, which it must accept as true

at this stage.   Ashcroft, 556 U.S. at 678.         See also Official

Comm. of Unsecured Creditors v. UMB Bank, N.A. (In re Residential

Capital, LLC), 497 B.R. 403, 412 (Bankr. S.D.N.Y. 2013) (A

“secured creditor bears the burden of proving, by a preponderance

of the evidence, that it is oversecured.”).             Therefore, dismissal

of the claims against the Term Loan Lenders is not appropriate at

this time.




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III. CONCLUSION

     For the reasons set forth above, the Court will deny the

Motions to Dismiss filed by WSFS and the Term Loan Lenders.

     An appropriate Order follows.




Dated:   March 1, 2017

                                      BY THE COURT:



                                      Mary F. Walrath
                                      United States Bankruptcy Judge




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